Revised AO 45 (WDNC~OS/U?)

 

NEW CRIMINAL CASE COVER SHEET U. S. I)ISTRICT COURT
(To be usedfor a_ll new Bz'lls oflndictments and Bz'lls oflnformatfon)

CASE SEALEI)= ( ) Yes (X ) No _ DOCKET NUMBER= §§ l l C pf f 3 9
(chse is to be sealed, a Motion to Seal and proposed Order must be attached) '

CASE NAME : US vs. COMMUNITYONE BANK, N.A.

COUNTY ()F OFFENSE : MECKLENBURG COUN'I`Y

RELATEI) CASE INFORMATION : (See befow)

 

Magz'strate Judge Case Number

Search Warrant Case Number

 

Miscellaneous Case Number

Rule ZOb

 

 

SERVICE OF PROCESS »

 

` U.S.C. CITATIONS (Mark ojj%nse carrying greatest weighz): m Pet'{y m Misd€m€an()l* X F@fony
Tirle 31 U.S.c. szls(h) '

 

JUVENILE = [J Yes X No

 

ASSISTANT U. S. ATTORNEY :KURT W.MEYERS

VICTIM / WITNESS COORDINATORS : shirlev.rutledge@usdoi.szov /ulricia.kennedv@usd<)§ .9:0\/

 

 

`INTERPRE'I`ER NEEDED _
LIST LANGUAGE AND/OR DIALECT:

 

 

 

REMARKS ANI) SPECIAL INSTRUCTIONS; RELATED TO: United States v. Kéith

Franklin Simmons - Case No.: 3:'10CR23
Case 3:11-Cr-00122-R.]C-DSC Document 1-1 Filed 04/28/11 Page 1 of 1

 

